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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

 KRISTIN WORTH, et al.,                      )
                                             )
        Plaintiffs,                          )       Civil No. 21-1348
                                             )
 v.                                          )       Judge Katherine M. Menendez
                                             )       Magistrate Judge Leo I. Brisbois
 JOHN HARRINGTON, in his                     )
 individual capacity and in his              )       PLAINTIFFS’ MOTION TO
 official capacity as Commissioner           )       EXTEND DEADLINE TO FILE
 of the Minnesota Department of              )       MOTION UNDER FED. R. CIV.
 Public Safety et al.,                       )       P. 54
                                             )
        Defendants.                          )



       Plaintiffs respectfully move this Court for an order extending the deadline to file a

motion for costs and fees under Federal Rule of Civil Procedure 54 until a date to be set by

the Court after any appeal in this case is dispositively resolved and no further avenues for

appeal remain. Defendants consent to this extension.

       In support of this motion, Plaintiffs state:

       1.       This Court granted summary judgment to Plaintiffs on March 31, 2023 and

enjoined Defendants from enforcing the law challenged by Plaintiffs in this suit. See Order,

Doc. 84.

       2.       That same day, the State moved to stay the injunction or, in the alternative,

relief from the Court’s order, and requested that judgment be withheld during the pendency

of that motion. See Emergency Motion, Doc. 85.




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       3.       The next day, the Court entered an order directing that final judgment not be

entered pending resolution of the emergency motion. See Order, Doc. 89. At the current

time, judgment has not been entered.

       4.       Once judgment is entered, Plaintiffs’ motion for fees and costs—for which

they are eligible under 42 U.S.C. § 1988—will be due in 14 days. See Fed. R. Civ. P. 54.

       5.       In view of the State’s motion requesting a stay, which indicates an intent to

appeal this Court’s decision, and to promote judicial efficiency, Plaintiffs move to extend

the deadline to file their motion seeking fees until after any appeal in this case is finally

resolved and all avenues of appeal are exhausted or closed, including certiorari to the

United States Supreme Court.

       6.       Counsel for Plaintiffs have conferred with counsel for Defendants before

filing this motion and all parties have agreed to extending this deadline.

       WHEREFORE, Plaintiffs respectfully request that this Court enter the attached

proposed Order.




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Dated: April 10, 2023                        Respectfully submitted,

                                             /s/David H. Thompson
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